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10                                UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF IDAHO
11
     SETH D. HARRIS, Acting Secretary of the      )
12   United States Department of Labor,           )
                                                  ) Case No.: 13-126
13                                                )
           Plaintiff,                             )
14                                            vs. ) COMPLAINT FOR VIOLATIONS OF
15                                                ) THE FAIR LABOR STANDARDS ACT
     A NEW HOPE SOCIAL SERVICES, PLLC, )
16   an Idaho limited liability company, and ERIN )
     YINGER, an individual,                       )
17                                                )
            Defendants.                           )
18
19
            1.      Plaintiff SETH D. HARRIS, Acting Secretary of Labor, United States Department
20
     of Labor (the “Acting Secretary” or “Plaintiff”), brings this action pursuant to Section 17,
21
     29 U.S.C § 217, of the Fair Labor Standards Act of 1938, as amended, 29 U.S.C §§ 201-19
22
     (hereinafter “FLSA” or the “Act”), to enjoin Defendants from violating the provisions of
23
     Sections 15(a)(2) and 15(a)(5) of the Act, 29 U.S.C §§ 215(a)(2), (5).
24
            2.      Plaintiff also and separately brings this action: (1) pursuant to Section 16(c) of
25
     the Act for the recovery of a judgment against Defendants for unpaid minimum wage and



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